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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     EDAG ENGINEERING GMBH,                              Case No. 21-cv-04736-EMC (TSH)
                                   6                    Plaintiff,
                                                                                             DISCOVERY ORDER
                                   7              v.
                                                                                             Re: Dkt. No. 116
                                   8     BYTON NORTH AMERICA
                                         CORPORATION,
                                   9
                                                        Defendant.
                                  10

                                  11          On December 13, 2021, Judge Chen entered judgment in favor of EDAG Engineering

                                  12   GmbH (“EDAG”) and against BYTON North America Corporation (“BYTON”) for a little more
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 United States District Court




                                  13   than $30,000,000. ECF No. 49. EDAG has moved to amend the judgment to add Byton Limited

                                  14   (“BY-LTD”) to the judgment. ECF No. 71. That motion is currently set to be heard by Judge

                                  15   Chen on June 30, 2022. ECF No. 100.

                                  16          In the meantime, EDAG served two subpoenas on BYTON. ECF No. 116. The joint

                                  17   discovery letter brief specifically refers only to requests for production (“RFPs”) 4, 13 and 15.

                                  18   EDAG inserts a footnote in the letter brief asserting that “[t]he entirety” of both subpoenas is at

                                  19   issue, “not just these three items.” However, as discussed during the hearing, several of the RFPs

                                  20   not discussed in the letter brief seem potentially overbroad, duplicative, hard to understand, or of

                                  21   questionable relevance. The Court dislikes the practice of gesturing in a footnote to numerous

                                  22   discovery requests with no explanation for why the materials they seek are relevant and not

                                  23   overbroad. That puts the Court in the uncomfortable position of having to imagine the arguments

                                  24   in favor of and against the motion to compel, rather than simply ruling on arguments advanced by

                                  25   the parties. Accordingly, the Court limits its consideration to RFPs 4, 13 and 15 for the time

                                  26   being. For the remaining RFPs, the Court orders the parties to meet and confer further, and if they

                                  27   are unable to resolve their disputes, they must file a joint discovery letter brief within 14 days.

                                  28          The Court now turns to RFPs 4, 13 and 15. As for service of the subpoenas, BYTON
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                                   1   objected to the one served on Sadha Kameswaran, but did not object to the one served on the

                                   2   company itself, and RFPs 4, 13 and 15 are in both subpoenas, so BYTON has stated that the status

                                   3   of the subpoena on Kameswaran is a moot point. BYTON also objected that a compliance

                                   4   deadline of January 19, 2022 was unreasonably short. But that objection is now also moot due to

                                   5   the passage of time. For RFPs 4 and 15, as those topics were clarified during meet and confer,

                                   6   BYTON agreed to search for responsive documents. The Court now orders BYTON to produce

                                   7   documents responsive to RFPs 4 and 15 within 30 days. The Court understands that BYTON

                                   8   claims it has no personnel anymore, but it is still a party to this case, it still has counsel, and RFPs

                                   9   4 and 15 seek relevant judgment debtor discovery. They also seek types of documents that any

                                  10   company ought to have. If BYTON has spirited these documents away and truly is not able to

                                  11   produce them, then either the undersigned or Judge Chen will need to determine what

                                  12   consequences flow from that. However, the first step is this order compelling production.
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 United States District Court




                                  13          During meet and confer, EDAG explained that RFP 13 sought documents relating to the

                                  14   purported fraudulent conveyance of 22 patents from BYTON to BY-LTD. However, Judge Chen

                                  15   has held that the transferee is an indispensable party to a fraudulent transfer claim. ECF No. 89.

                                  16   BY-LTD must be made a party for EDAG to assert a fraudulent conveyance claim. Until that

                                  17   happens, RFP 13 seeks discovery that isn’t relevant to any claim or issue in the case. (The Court

                                  18   also takes EDAG’s point, made at the hearing, that if it is successful in adding BY-LTD as a party

                                  19   to the judgment, it won’t need discovery into a fraudulent transfer claim because it could simply

                                  20   levy against the transferee, regardless of how the transferee acquired its assets. Thus, there seems

                                  21   to be no scenario in which this discovery would be warranted.)

                                  22          Accordingly, the Court grants EDAG’s motion to compel as to RFPs 4 and 15 and orders

                                  23   BYTON to produce responsive documents within 30 days. The Court denies EDAG’s motion to

                                  24   compel as to RFP 13.

                                  25          IT IS SO ORDERED.

                                  26   Dated: February 22, 2022

                                  27
                                                                                                      THOMAS S. HIXSON
                                  28                                                                  United States Magistrate Judge
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